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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK

  MEDIDATA SOLUTIONS, INC.,
                                                                  Civil Action No. 20-cv-4506-AKH-DF
                    Plaintiff,
                   vs.
 CLINICAL PROFESSIONALS INC.,                                     REVISED
                    Defendant.                                    DEFAULT JUDGMENT



         This action having been commenced on June 12, 2020 by the filing of the Summons and

Complaint, and a copy of the Summons and Complaint having been duly served on Defendant

Clinical Professionals Inc. by substituted service in conformance with this Court’s September 18,

2020 Order (Doc. # 11) by (1) mailing same to: (a) Clinical Professionals Inc., 731 Alexander

Road, Building 1, Suite 101, Princeton, N.J. 08540-0854, and (b) Clinical Professionals Inc., c/o

Robert J. Mockoviak, Registered Agent, 9968 Equus Circle, Boynton Beach, Florida 33472, and

(c) Robert J. Mockoviak, as Registered Agent for Clinical Professionals Inc., c/o Luis Salazar,

Esq., Salazar Law, 2000 Ponce De Leon Boulevard, Penthouse, Coral Gables, Florida 33134, and

(2) transmitting PDF copies of same, together with the Court’s September 18, 2020 order,

attached to an electronic mail message with the subject line: “Court Ordered Service of Process

on Robert J. Mockoviak as Registered Agent of Clinical Professionals Inc.” to the email address

luis@salazar.law; and proof of such service having been filed on October 8, 2020; and the

Defendant not having answered the Complaint; and the time for answering the Complaint having

expired, it is

         ORDERED, ADJUDGED AND DECREED: That the Plaintiff have judgment against the

Defendant in the total liquidated amount of $672,073.09 plus interest calculated as follows:

Interest at 9% on principal amount of $26,852.00 from January 30, 2018
      through December 23, 2020..........................................................................$6,847.26
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Interest at 9% on principal amount of $3,152.00 from February 3, 2018
      through December 23, 2020.............................................................................$803.76
Interest at 9% on principal amount of $3,152.00 from March 7, 2018
      through December 23, 2020.............................................................................$780.12
Interest at 9% on principal amount of $941.85 from March 30, 2018
      through December 23, 2020.............................................................................$226.04
Interest at 9% on principal amount of $26,852.00 from April 1, 2018
      through December 23, 2020..........................................................................$6,444.48
Interest at 9% on principal amount of $338.37 from April 30, 2018
      through December 23, 2020...............................................................................$78.67
Interest at 9% on principal amount of $3,152.00 from May 5, 2018
      through December 23, 2020.............................................................................$732.84
Interest at 9% on principal amount of $1,250.88 from May 30, 2018
      through December 23, 2020.............................................................................$281.45
Interest at 9% on principal amount of $3,152.00 from June 9, 2018
      through December 23, 2020.............................................................................$709.20
Interest at 9% on principal amount of $1,388.18 from June 30, 2018
      through December 23, 2020.............................................................................$301.93
Interest at 9% on principal amount of $46,752.00 from July 16, 2018
      through December 23, 2020........................................................................$10,168.56
Interest at 9% on principal amount of $24,675.00 from July 30, 2018
      through December 23, 2020..........................................................................$5,181.75
Interest at 9% on principal amount of $15,552.00 from August 11, 2018
      through December 23, 2020..........................................................................$3,265.92
Interest at 9% on principal amount of $30,218.48 from August 30, 2018
      through December 23, 2020..........................................................................$6,119.24
Interest at 9% on principal amount of $19,749.32 from September 8, 2018
      through December 23, 2020..........................................................................$3,999.24
Interest at 9% on principal amount of $860.72 from September 30, 2018
      through December 23, 2020.............................................................................$167.84
Interest at 9% on principal amount of $23,052.00 from October 12, 2018
      through December 23, 2020..........................................................................$4,495.14
Interest at 9% on principal amount of $32,269.51 from October 30, 2018
      through December 23, 2020..........................................................................$6,050.53
Interest at 9% on principal amount of $15,552.00 from November 1, 2018
      through December 23, 2020..........................................................................$2,916.00
Interest at 9% on principal amount of $37,850.00 from November 30, 2018
      through December 23, 2020..........................................................................$6,813.00


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Interest at 9% on principal amount of $19,749.32 from December 3, 2018
      through December 23, 2020..........................................................................$3,554.88
Interest at 9% on principal amount of $23,052.00 from January 6, 2019
      through December 23, 2020..........................................................................$3,976.47
Interest at 9% on principal amount of $20,506.84 from February 4, 2019
      through December 23, 2020..........................................................................$3,383.63
Interest at 9% on principal amount of $8,437.50 from March 2, 2019
      through December 23, 2020..........................................................................$1,328.91
Interest at 9% on principal amount of $22,149.32 from March 10, 2019
      through December 23, 2020..........................................................................$3,488.52
Interest at 9% on principal amount of $25,451.96 from April 8, 2019
      through December 23, 2020..........................................................................$3,817.79
Interest at 9% on principal amount of $16,713.24 from May 6, 2019
      through December 23, 2020..........................................................................$2,381.64
Interest at 9% on principal amount of $19,749.32 from June 8, 2019
      through December 23, 2020..........................................................................$2,666.16
Interest at 9% on principal amount of $23,052.00 from July 11, 2019
      through December 23, 2020..........................................................................$2,939.13
Interest at 9% on principal amount of $15,552.00 from August 14, 2019
      through December 23, 2020..........................................................................$1,866.24
Interest at 9% on principal amount of $19,749.32 from September 4, 2019
      through December 23, 2020..........................................................................$2,221.80
Interest at 9% on principal amount of $23,052.00 from October 12, 2019
      through December 23, 2020..........................................................................$2,420.46
Interest at 9% on principal amount of $15,552.00 from November 6, 2019
      through December 23, 2020..........................................................................$1,516.32
Interest at 9% on principal amount of $19,749.32 from December 6, 2019
      through December 23, 2020..........................................................................$1,777.44
Interest at 9% on principal amount of $12,400.00 from January 5, 2020
      through December 23, 2020..........................................................................$1,023.00
Interest at 9% on principal amount of $12,400.00 from February 6, 2020
      through December 23, 2020.............................................................................$930.00
Interest at 9% on principal amount of $16,597.32 from March 8, 2020
      through December 23, 2020..........................................................................$1,120.32
Interest at 9% on principal amount of $12,400.00 from April 5, 2020
      through December 23, 2020.............................................................................$744.00
Interest at 9% on principal amount of $12,400.00 from May 1, 2020
      through December 23, 2020.............................................................................$651.00


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Interest at 9% on principal amount of $16,597.32 from June 4, 2020
      through December 23, 2020.............................................................................$746.88

for a total amount of interest through December 23, 2020 of $108,937.55, amounting in all to
$781,010.64.


Dated: New York, New York
__December___30__, 2020__


                                                                       //S//
                                                            ALVIN K. HELLERSTEIN
                                                            United States District Judge




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